Case 2:08-cr-02090-RHW   ECF No. 311   filed 07/16/09   PageID.1113 Page 1 of 5
Case 2:08-cr-02090-RHW   ECF No. 311   filed 07/16/09   PageID.1114 Page 2 of 5
Case 2:08-cr-02090-RHW   ECF No. 311   filed 07/16/09   PageID.1115 Page 3 of 5
Case 2:08-cr-02090-RHW   ECF No. 311   filed 07/16/09   PageID.1116 Page 4 of 5
Case 2:08-cr-02090-RHW   ECF No. 311   filed 07/16/09   PageID.1117 Page 5 of 5
